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                                                 March 11, 2025

VIA CM/ECF

Kelly L. Stephens, Clerk of Court
U.S. Court of Appeals for the Sixth Circuit
540 Potter Stewart U.S. Courthouse
100 East Fifth Street
Cincinnati, Ohio 45202

      RE:    State of Tennessee, et al. v. McMahon, et al., No. 24-5588 (argued Oct. 30,
             2024)1

Dear Ms. Stephens:

      We write pursuant to Federal Rule of Appellate Procedure 28(j) to inform the
Court that on January 9, 2025, the district court issued an order entering final
judgment in this matter. See Order, State of Tennessee v. McMahon, No. 2:24-cv-72 (Jan.
9, 2025), ECF No. 144. The entry of final judgment moots this appeal.

        This litigation concerns the Department of Education’s 2024 rule
implementing Title IX of the Education Amendments of 1972. See 89 Fed. Reg.
33,474 (2024). In June 2024, the district court entered a preliminary injunction
barring enforcement of the rule within the plaintiff states. See Tennessee v. Cardona, 737
F. Supp. 3d 510 (E.D. Ky. 2024). The federal defendants filed this appeal, which was
argued before a panel of this Court on October 30, 2024. During the pendency of
this appeal, the district court entered final judgment on plaintiffs’ claims. The time to
file a notice of appeal from the district court’s entry of final judgment expired on
March 10, 2025, see Fed. R. App. P. 4(a)(1)(B); the federal defendants declined to seek
further review of the district court’s judgment.
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        Pursuant to Federal Rule of Appellate Procedure 43(c)(2), Secretary of
Education Linda McMahon has been substituted for Miguel Cardona as defendant-
appellant.
        The entry of final judgment moots this appeal from the district court’s
preliminary injunction order. It is well established that “[a] case may become moot on
appeal if an intervening event makes it impossible for a court of appeals to grant any
effectual relief.” Adams v. Baker, 951 F.3d 428, 429 (6th Cir. 2020) (per curiam)
(quotation marks omitted). Because “[t]he point of a preliminary injunction is to
maintain the status quo until the resolution of the case on its merits,” “[a] final
decision on the merits … extinguishes a preliminary injunction,” as “no status quo
remains for [the Court] to maintain.” Id. (quotation marks omitted). The entry of
final judgment here thus extinguishes the court’s preliminary injunction order and
renders this appeal from that order moot. See id.; see also Koppula v. Jaddou, 72 F.4th 83,
84 (5th Cir. 2023) (similar). This appeal therefore should be dismissed as moot.


                                          Sincerely,

                                          s/ David L. Peters
                                          David L. Peters
                                          U.S. Department of Justice
                                          Appellate Staff, Civil Division

cc (via CM/ECF): Counsel of Record




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